                                                 Case: 23-3565      Document: 40          Filed: 07/01/2024    Page: 1




                                                                              No. 23-3565

                                                                UNITED STATES COURT OF APPEALS
                                                                     FOR THE SIXTH CIRCUIT


                                    UNITED STATES OF AMERICA,                         )
                                                                                      )
                                            Plaintiff-Appellee,                       )
                                                                                      )
                                    v.                                                )            ORDER
                                                                                      )
                                    LARRY HOUSEHOLDER,                                )
                                                                                      )
                                            Defendant-Appellant.                      )



                                          The defendant appeals the district court’s judgment after a jury found him guilty of

                                   Racketeer Influenced and Corrupt Organizations (RICO) conspiracy. The defendant, by and

                                   through counsel, now moves for leave to file a supplemental brief. The Government responds in

                                   opposition, and the defendant replies.

                                          Upon review and consideration, the defendant’s motion to file a supplemental brief is

                                   GRANTED, insofar as the supplemental brief will be filed on the docket and will be submitted to

                                   the court for whatever consideration, if any, the ultimate merits panel may choose to give it along

                                   with the principal briefs.

                                                                                ENTERED PURSUANT TO RULE 45(a)
                                                                                RULES OF THE SIXTH CIRCUIT




                                                                                Kelly L. Stephens, Clerk




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